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                         FOR THE EASTERN DISTRICT OF VIRGINIA                           ?       I       IL                 \

                                   Alexandria Division                                   h
SONY MUSIC ENTERTAINMENT,et al,)                                                        r       .iUM 28 2019
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                                                )                                            Cl£RK. U.S. DISTRICT COURT
                        Plaintiffs,             )                                               ALEXANDRIA. VIRGINIA



        V.                                                Civil Action No. 1:18cv0950(LO/JFA)

cox COMMUNICATIONS,INC., el al.

                        Defendants.



                                                ORDER


        On Friday, June 28, 2019,counsel for the parties appeared before the court to present

argument on plaintiffs'motion to compel. (Docket no. 176). Upon consideration ofthe motion,

 memorandimi in support(Docket no. 177), opposition(Docket no. 181), and reply (Docket no.

 185), and for the reasons stated from the bench, it is hereby

        ORDERED that plaintiffs' motion to compel is granted in part and denied in part.

        Entered this 28th day of June, 2019.
                                                            John F. Anderson
                                                            [^i|cd                      Judge
                                                             United States Magistrate Judge
 Alexandria, Virginia
